Case 2:22-cv-00311-LPL Document 1-2 Filed 02/17/22 Page 1 of 6




          EXHIBIT B
Case 2:22-cv-00311-LPL Document 1-2 Filed 02/17/22 Page 2 of 6
Case 2:22-cv-00311-LPL Document 1-2 Filed 02/17/22 Page 3 of 6
Case 2:22-cv-00311-LPL Document 1-2 Filed 02/17/22 Page 4 of 6
Case 2:22-cv-00311-LPL Document 1-2 Filed 02/17/22 Page 5 of 6
Case 2:22-cv-00311-LPL Document 1-2 Filed 02/17/22 Page 6 of 6
